                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

  IN RE                                               CASE NO 22-60937-MAW

  JUDITH A LONGACRE                                   CHAPTER 7


              Debtor.                                 CHIEF JUDGE MARY ANN WHIPPLE


            OBJECTION TO MOTION TO COMPEL ABANDONMENT (6007(B))

       Now comes Anthony J. DeGirolamo, the duly appointed Chapter 7 Trustee in the above-

captioned case (the “Trustee”) and hereby objects to the Debtor’s Motion to Compel

Abandonment (6007(b)) (the “Motion”) (Doc. No. 25). For his objection, Trustee states as

follows:

       1.      The Debtor listed on the Schedule of Personal Property at question 18 “Bonds,

mutual funds, or publicly traded stocks” an AlphaStar Capital account with a value of

$30,844.64 (the “Property”). On Schedule C, an exemption of 100% of the fair market value of

the Property, up to any applicable statutory limit was claimed in in the Property under Ohio

Revised Code §2329.66(A)(3).      The allowable limit under Ohio law for a §2329.66(A)(3)

exemption (cash exemption) is $550.00.

       2.      The Debtor argues that the Property is necessary for her to continue to pay her

bills and refers to Ohio Revised Code § 2329.66(A)(10)(b) to argue that the Property is exempt.




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The Debtor did not schedule the Property as a “pension, annuity, or similar plan or contract, not

including a payment or benefit from a stock bonus or profit -sharing plan” as required by §

2329.66(A)(10)(b). The Debtor further states that the Property was stock purchased while

employed but has no other recollection of how it was purchased.

        3.     While the Trustee is sympathetic to the Debtor’s situation and cash needs, the

Trustee is a fiduciary for her creditors. That the Debtor chose to file a chapter 7 bankruptcy and

put the Property at risk may be unfortunate, but the Trustee must act in the best interest of the

creditors.

        4.     For the reasons stated above, the Property is property that the Trustee can use to

pay creditors in this case which is not exempt.

        WHEREFORE, for the reasons stated above, the Trustee respectfully requests that the

Court deny the Debtor’s Motion and granting any other and further relief that the Court deems

just and proper.



                                                            Respectfully submitted,

                                                            /s/ Anthony J. DeGirolamo
                                                            Anthony J. DeGirolamo (0059265)
                                                            3930 Fulton Dr N.W., Suite 100B
                                                            Canton, OH 44718
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                                                            CHAPTER 7 TRUSTEE




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                              CERTIFICATE OF SERVICE

    I hereby certify that on November 21, 2022, a copy of the foregoing Objection was
electronically transmitted via the Court’s CM/ECF system to those listed on the Court’s
Electronic Mail Notice list:

      Anthony J. DeGirolamo, Trustee - Canton tony@ajdlaw7-11.com, amber@ajdlaw7-
       11.com;ad@trustesolutions.com;AD07@trustesolutions.net
      Mark Franklin Graziani mark_graziani@yahoo.com
      Matthew Murtland mmurtland@logs.com, LOGSECF@logs.com
      United States Trustee (Registered address)@usdoj.gov

                                                         /s/ Anthony J. DeGirolamo
                                                         Anthony J. DeGirolamo

   The undersigned hereby certifies that a copy of the foregoing Objection was served via
regular U.S. Mail, postage prepaid, upon those listed below, this 21st day of November, 2022.

                                                         /s/ Anthony J. DeGirolamo
                                                         Anthony J. DeGirolamo

Judith A. Longacre
265 Cordelia Street SW
North Canton, Ohio 44720




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